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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE AND D EADLINE INFORMATION



Civil Action No.: 2:10cv45
Name of party requesting extension: Tru-Tronics, Inc. d/b/a Tru-Tronics Int'l
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 02/23/10
Number of days requested:                   ✔ 30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date: 04/15/10                      (Required)


A TTORNEY FILING APPLICATION INFORMATION



            Full Name: Charles Ainsworth
            State Bar No.: 00783521
            Firm Name: PARKER, BUNT & AINSWORTH, P.C.
            Address: 100 E. Ferguson, Suite 1114
                         Tyler, TX 75702


            Phone: 903-531-3535
            Fax: 903-533-9687
            Email: charley@pbatyler.com
                  A certificate of conference does not need to be filed with this unopposed application.
